        Case 3:19-cv-00719-WC Document 1 Filed 09/27/19 Page 1 of 18


               IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF APt
                        NerRTHERN-DIVISION
                         63S+Vzn             S'E? 21 11: 33

OLIVIA KIONI-HENDRIETH,
                                                                         A
                   PLAINTIFF,
                                                CIVIL ACTION NO        3:19-cy_31,
v.


AUBURN UNIVERSITY,                             JURY DEMAND

                   DEFENDANT.




                                   COMPLAINT



                                 I. JURISDICTION

      1.    This is a suit authorized and instituted pursuant to Title VII of the

"Civil Rights Act of 1964", as amended, 42 U.S.C. §1981, as amended, and 42

U.S.C.§1983. The jurisdiction of this Court is invoked to secure protection for and

to redress the deprivation of rights secured by Title VII, 42 U.S.C. § 1981, and 42

U.S.C.§1983, providing injunctive and other relief against racial discrimination

and retaliation in employment.

                                   II. PARTIES

      2.    Plaintiff, Olivia Kioni-Hendrieth, is an African American female



                                         1
        Case 3:19-cv-00719-WC Document 1 Filed 09/27/19 Page 2 of 18


citizen ofthe United States and is a resident of Deatsville, Alabama.

       3.    Defendant, Auburn University, is an employer doing business in the

state of Alabama. At all times relevant to this action, Defendant has maintained

and operated a business in Alabama. Defendant is engaged in an industry affecting

commerce and has fifteen (15) or more employees and employers within the

meaning of42 U.S.C. § 2000e (b),(g)and (h).

                    III. ADMINISTRATIVE PROCEDURES

       4.    Plaintiff hereby adopts and realleges paragraphs one (1)through three

(3)herein above as if fully set forth herein.

       5.    Plaintiff brings this action for the unlawful employment practices and

acts of intentional discrimination and retaliation that occurred while Plaintiff was

an employee of Auburn University.

       6.    This action seeks to redress unlawful employment practices resulting

from the acts of Defendant, its agents, servants, and employees committed with

respect to Plaintiffs employment.

       7.    On July 30, 2018, within 180 days of the last discriminatory act of

which Plaintiff complains, Plaintiff filed a Charge of Discrimination with the

Equal Employment Opportunity Commission (hereinafter "EEOC"). (Exhibit 1).

       8.    Plaintiffs corrected and revised Dismissal and Notice of Rights was




                                          2
         Case 3:19-cv-00719-WC Document 1 Filed 09/27/19 Page 3 of 18


mailed by the EEOC to the Plaintiff on June 28, 20191, and Plaintiff has filed suit

within ninety(90)days ofreceipt of her Dismissal and Notice ofRights.(Exhibit 2).

       9.     All administrative prerequisites for filing suit have been satisfied, and

Plaintiff is entitled to bring this action.

                IV. STATEMENT OF PLAINTIFF'S FACTUAL
                       ALLEGATIONS AND CLAIMS

                                     COUNT ONE

 STATEMENT OF PLAINTIFF'S TITLE VII,42 U.S.C.§ 1981,AND 42 U.S.C. § 1983
                    RACIAL DISCRIMINATION CLAIMS

       10.    Plaintiff hereby adopts and realleges paragraphs one (1) through nine

(9)above as if fully set forth herein.

       11.    Plaintiff, Olivia Kioni-Hendrieth, is an African American female.

       12.    Plaintiff began working for the Defendant on or about July 2010, as a

Mental Health Specialist I, with a starting salary around $36,000.00 per year.

       13.    Plaintiff was employed to work on the ABSOP program for the

Psychology Department.

       14.    The focus of the ABSOP program included the assessment and

treatment ofjuveniles that have been adjudicated for illegal sexual behavior.

       15.    Plaintiff was qualified for the position at the time of her hire.

       16.    It took Plaintiff approximately four years to get promoted to Mental

       The EEOC erroneously issued a Dismissal and Notice of Rights to Plaintiff with an
incorrect year for the date of mailing, June 6, 2018, instead of June 6, 2019, and the EEOC
issued a revised Disniissal and Notice of Rights on June 28, 2019.(Exhibit 2).


                                              3
        Case 3:19-cv-00719-WC Document 1 Filed 09/27/19 Page 4 of 18


Health Specialist II, and another two years to get promoted to Mental Health

Specialist III.

       17.    Since 2014, Plaintiff has been a team lead and assigned additional

team lead duties and has also been assigned managerial duties without any

additional compensation.

       18.   Plaintiff noticed that less qualified Caucasian employees were paid

more when they were hired than Plaintiff and other African American employees,

including, but not limited to Rhonda Peterson.

       19.    Also, these new Caucasian employees were placed in higher level and

higher paying positions than Plaintiff and other African American employees.

      20.    In addition, Plaintiff noticed that she and other African American employees

were not promoted as quickly or as often as less qualified Caucasian employees.

      21.     Jan Newman, JR PhD, Assistant Clinical Professor, stated she heard

Barry Burkhart, PhD, Professor and Director of ABSOP Program, make negative

comments about African Americans that made her feel uncomfortable.

      22.     At the time Dr. Newman witnessed Dr. Burkhart make racially

offensive comments she was a member of the Executive group and made hiring

and salary decisions.

      23.    In or around April 2016, Plaintiff requested to be promoted to the

position of Manager of Clinical Services.

      24.    Plaintiff qualified for the position of Manager of Clinical Services and


                                           4
        Case 3:19-cv-00719-WC Document 1 Filed 09/27/19 Page 5 of 18


has performed many ofthe duties and responsibilities ofthis position since 2014.

      25.   Plaintiff was denied the Manager of Clinical Services position.

      26.   In late 2017, Plaintiff again applied for the open Manager of Clinical

Services position. Plaintiff was interviewed and was informed that she did well in

her interview.

      27.   Dr. Burkhart was a decision maker with hiring decisions for both

Manager of Clinical Services positions for which Plaintiff applied.

      28.   In February 2018, Dr. Burkhart informed Plaintiff that she was not

selected for the Manager of Clinical Services position.

      29.   In or around February 2018, Defendant placed a Caucasian male in

the Clinical Services Manager position Plaintiff applied for and Plaintiffs race and

gender were motivating factors in Defendant's decision to deny her the Clinical.

Services Manager position.

      30.   Plaintiff and other African American employees are assigned a higher

caseload than Caucasian employees in the same or similar positions.

      31.    Caucasian employees in the same of similar positions have not been

required to perform the same amount of work and are not held to the same work

standards as Plaintiff and other African American employees.

      32.   In 2017, Plaintiff was assigned on call duties that were the duties of a

clinical manager. Plaintiff was not given any additional pay for these additional

managerial duties.


                                         5
        Case 3:19-cv-00719-WC Document 1 Filed 09/27/19 Page 6 of 18


      33.    In addition, Plaintiff has not been paid for her assigned on call duties.

      34.    Plaintiff has continually been paid less than Caucasian employees in

the same or similar positions.

      35.    Plaintiff is paid an annual salary and is also eligible for bonuses. Plaintiff

has been denied bonuses and/or paid a lower bonus than Caucasian employees.

      36.     In late 2017, Plaintiff complained to Defendant about discrimination

she was experiencing as well as discrimination she witnessed toward other African

American employees.

      37.    In late 2017, Plaintiffs complaints included, but are not limited to,

complaints that jobs were created for Caucasian employees and that Caucasian

employees have been paid more than Plaintiffand other African American employees.

      38.    After complaining to Defendant about discrimination and engaging in

protected activity Plaintiff has been retaliated and harassed.

      39.    A.fter Plaintiff complained and engaged in protected activity, she has

been unjustly disciplined and Plaintiff has been informed that Dr. Burkhart

directed that Plaintiff be disciplined.

      40.    After Plaintiff complained she has also been informed that Dr.

Burkhart instructed employees to alter or change Plaintiffs job duties.

      41.    After Plaintiff complained she has been informed that Dr. Burkhart

has asked employees to "watch out" for Plaintiff.

      42.    After Plaintiff made discrimination complaints Dr. Burkhart began to


                                           6
        Case 3:19-cv-00719-WC Document 1 Filed 09/27/19 Page 7 of 18


ignore her and would not have anything to do with Plaintiff.

      43.    Because Defendant failed to stop the discrimination and Plaintiff was

being harassed and retaliated for her complaints, Plaintiff filed a charge of

discrimination with the EEOC in July 2018.

      44.    In or around September 2018, Dr. Burkhart questioned Plaintiffs

supervisors and other employees about Plaintiffs EEOC change and informed

employees that "there was nothing to it [the EEOC charge]" and that "Auburn

threw it out."

      45.    After Plaintiff filed her EEOC charge Dr. Burkhart has stated,"I want

her gone" referring to Plaintiff.

      46.        After Plaintiff filed her EEOC charge and engaged in protected

activity she has continued to be retaliated against and unjustly disciplined.

      47.    After filing her EEOC charge Plaintiff has also been retaliated against and

harassed for taking notes in meetings,a routine practice for Plaintiffand other employees.

      48.    In or around October 2018, a co-worker unexpectedly passed away

and Plaintiff requested leave and her request was approved. Even though Plaintiff

requested and was granted leave, she was still unjustly disciplined.

      49.    In or around November 2018, Plaintiff was falsely accused of leaving

without perrnission, but Plaintiff had proof that she emailed her supervisor and that

she did not leave work without permission.

      50.    After Plaintiff complained and filed her EEOC charge, her immediate


                                            7
        Case 3:19-cv-00719-WC Document 1 Filed 09/27/19 Page 8 of 18


supervisor was instructed by Dr. Burkhart to track Plaintiffs time and attendance.

This request was not made for other employees.

      51.    After Plaintiff complained and filed her EEOC charge, Dr. Burkhart made

false complaints that have been unfounded that Plaintiffcreated a hostile environment.

      52.    Plaintiff filed an internal complaint/grievance regarding the retaliation,

harassment and unjust discipline and refuted all the false grounds for discipline.

      53.    Prior to her complaints and EEOC charge Plaintiff had not been

disciplined by Defendant.

      54.    Prior to filing her EEOC Charge, Plaintiff received favorable

performance evaluations by Dr. Burkhart; however, after Plaintiff filed her EEOC

Charge, Dr. Burkhart provided unfavorable evaluations.

      55.    Plaintiff has been discriminated against because of her race, African

American.

      56.    Plaintiff was a good employee and qualified to hold her position with

Defendant.

      57.    Other African American employees working for Defendant have been

discriminated against because oftheir race.

      58.    Defendant has a habit and/or practice of allowing and condoning

racial discrimination against its employees and on its campus.

      59. Plaintiff has been denied pay because of her race, paid less than

Caucasian employees performing the same or similar duties, denied pay raises


                                            8
        Case 3:19-cv-00719-WC Document 1 Filed 09/27/19 Page 9 of 18


because of her race, discriminated against because of her race, treated differently

because of her race, denied positions because of her race, received a poor

performance evaluation because of her race, denied bonuses because of her race,

provided less bonus because of her race, unjustly disciplined, and subjected to

additional adverse acts by Defendant because of her race, African American.

      60. Defendant has condoned and tolerated the racial discrimination.

      61. Defendant's actions were in violation of Title VII of the "Civil Rights

Act of 1964," as amended, the "Civil Rights Act of 1866," as amended, 42 U.S.C.

§ 1981,AND 42 U.S.C. § 1983.

      62. Plaintiff has no plain, adequate or complete remedy at law to redress the

wrongs alleged herein, and this suit for back pay, front pay, compensatory damages,

attorney's fees, expenses, and costs is her only means ofsecuring adequate relief.

      63. Plaintiff is now suffering and will continue to suffer irreparable injury

from Defendant's unlawful policies and practices set forth herein unless given

appropriate damages by this Court.

      64.    Plaintiffs race was a motivating factor in Defendant's unlawful and

adverse treatment of Plaintiff.

      65. The Plaintiffhas satisfied all administrative prerequisites to bring this clairn.

                                    COUNT TWO

STATEMENT OF PLAINTIFF'S TITLE VII,42 U.S.C.§ 1981,AND 42 U.S.C. § 1983
                        RETALIATION CLAIMS



                                            9
        Case 3:19-cv-00719-WC Document 1 Filed 09/27/19 Page 10 of 18


      66.    Plaintiff adopts and realleges paragraphs one (1)through nine (9) as if

fully set forth herein.

      67.    Plaintiff, Olivia Kioni-Hendrieth, is an African American female.

      68.    Plaintiff began working for the Defendant on or about July 2010, as a

Mental Health Specialist I, with a starting salary around $36,000.00 per year.

      69.    Plaintiff was employed to work on the ABSOP program for the

Psychology Department,

       70.    The focus of the ABSOP program included the assessment and

treatment ofjuveniles that have been adjudicated for illegal sexual behavior.

       71.   Plaintiff was qualified for the position at the time of her hire.

       72.    It took Plaintiff approximately four years to get promoted to Mental

Health Specialist II, and another two years to get promoted to Mental Health

Specialist III.

      73.     Since 2014, Plaintiff has been a team lead and assigned additional

team lead duties and has also been assigned managerial duties without any

additional compensation.

      74.    Plaintiff noticed that less qualified Caucasian employees were paid

more when they were hired than Plaintiff and other African American employees,

including, but not limited to Rhonda Peterson.

      75.     Also, these new Caucasian employees were placed in higher level and

higher paying positions than Plaintiff and other African American employees.


                                          10
       Case 3:19-cv-00719-WC Document 1 Filed 09/27/19 Page 11 of 18


      76.    In addition, Plaintiff noticed that she and other African American employees

were not promoted as quickly or as often as less qualified Caucasian employees.

      77.    Jan Newman, JR PhD, Assistant Clinical Professor, stated she heard

Barry Burkhart, PhD, Professor and Director of ABSOP Program, make negative

comments about African Americans that made her feel uncomfortable.

      78.    At the time Dr. Newman witnessed Dr. Burkhart make racially

offensive comments she was a mernber of the Executive group and made hiring

and salary decisions.

      79.    In or around April 2016, Plaintiff requested to be promoted to the

position of Manager of Clinical Services.

      80.    Plaintiff qualified for the position of Manager of Clinical Services and

has performed many ofthe duties and responsibilities ofthis position since 2014.

      81.    Plaintiff was denied the Manager of Clinical Services position.

      82.    In late 2017, Plaintiff again applied for the open Manager of Clinical

Services position. Plaintiff was interviewed and was informed that she did well in

her interview.

      83.    Dr. Burkhart was a decision maker with hiring decisions for both

Manager of Clinical Services positions for which Plaintiff applied.

      84.    In February 2018, Dr. Burkhart informed Plaintiff that she was not

selected for the Manager of Clinical Services position.

      85.    In or around February 2018, Defendant placed a Caucasian male in


                                           11
       Case 3:19-cv-00719-WC Document 1 Filed 09/27/19 Page 12 of 18


the Clinical Services Manager position Plaintiff applied for and Plaintiffs race and

gender were motivating factors in Defendant's decision to deny her the Clinical

Services Manager position.

      86.    Plaintiff and other African American employees are assigned a higher

caseload than Caucasian employees in the same or similar positions.

      87.    Caucasian employees in the sarne of similar positions have not been

required to perform the same amount of work and are not held to the same work

standards as Plaintiff and other African American employees.

      88.    In 2017, Plaintiff was assigned on call duties that were the duties of a

clinical manager. Plaintiff was not given any additional pay for these additional

managerial duties.

      89.    In addition, Plaintiff has not been paid for her assigned on call duties.

      90.    Plaintiff has continually been paid less than Caucasian employees in

the sarne or similar positions.

      91.    Plaintiff is paid an annual salary and is also eligible for bonuses. Plaintiff

has been denied bonuses and/or paid a lower bonus than Caucasian employees.

      92.    In late 2017, Plaintiff complained to Defendant about discrimination

she was experiencing as well as discrimination she witnessed toward other African

American employees.

      93.    In late 2017, Plaintiffs complaints included, but are not limited to,

complaints that jobs were created for Caucasian employees and that Caucasian


                                           12
       Case 3:19-cv-00719-WC Document 1 Filed 09/27/19 Page 13 of 18


employees have been paid more than Plaintiff and other African American employees.

      94.    After complaining to Defendant about discrimination and engaging in

protected activity Plaintiff has been retaliated and harassed.

      95.    After Plaintiff complained and engaged in protected activity, she has

been unjustly disciplined and Plaintiff has been informed that Dr. Burkhart

directed that Plaintiff be disciplined.

      96.    After Plaintiff complained she has also been informed that Dr.

Burkhart instructed employees to alter or change Plaintiffsjob duties.

      97.    After Plaintiff complained she has been informed that Dr. Burkhart

has asked employees to "watch out" for Plaintiff.

      98.    After Plaintiff made discrimination complaints Dr. Burkhart began to

ignore her and would not have anything to do with Plaintiff.

      99.    Because Defendant failed to stop the discrimination and Plaintiff was

being harassed and retaliated for her complaints, Plaintiff filed a charge of

discrimination with the EEOC in July 2018.

       100. In or around September 2018, Dr. Burkhart questioned Plaintiffs

supervisors and other employees about Plaintiffs EEOC change and informed

employees that "there was nothing to it [the EEOC charge]" and that "Auburn

threw it out."

      101. After Plaintiff filed her EEOC charge Dr. Burkhart has stated,"I want

her gone referring to Plaintiff.


                                          13
        Case 3:19-cv-00719-WC Document 1 Filed 09/27/19 Page 14 of 18


       102. After Plaintiff filed her EEOC charge and engaged in protected

activity she has continued to be retaliated against and unjustly disciplined.

       103. After filing her EEOC charge Plaintiff has also been retaliated against and

harassed for taking notes in meetings, a routine practice for Plaintiffand other employees.

       104. In or around October 2018, a co-worker unexpectedly passed away

and Plaintiff requested leave and her request was approved. Even though Plaintiff

requested and was granted leave she was still unjustly disciplined.

       105. In or around November 2018, Plaintiff was falsely accused of leaving

without permission, but Plaintiff had proofthat she emailed her supervisor and that

she did not leave work without permission.

       106. After Plaintiff complained and filed her EEOC charge her immediate

supervisor was instructed by Dr. Burkhart to track Plaintiffs time and attendance.

This request was not made for other employees.

       107. After Plaintiff complained and filed her EEOC charge, Dr. Burkhart made

false complaints that have been unfounded that Plaintiffcreated a hostile environment.

       108. Plaintiff filed an intemal complaint/grievance regarding the retaliation,

harassment and unjust discipline and refuted all the false grounds for discipline.

       109. Prior to her complaints and EEOC charge Plaintiff had not been

disciplined by Defendant.

       110. Prior to filing her EEOC Charge, Plaintiff received favorable

performance evaluations by Dr. Burkhart; however, after Plaintiff filed her EEOC


                                            14
       Case 3:19-cv-00719-WC Document 1 Filed 09/27/19 Page 15 of 18


Charge, Dr. Burkhart provided unfavorable evaluations.

      111. Plaintiff was a good employee and qualified to hold her position with

Defendant.

      112. Other African American employees working for Defendant have been

discriminated against because of their race and retaliated against for engaging in

protected activity.

      113. Defendant has a habit and/or practice of allowing and condoning

retaliation against its employees and on its campus.

      114. Plaintiff has been retaliated against and denied pay, denied pay raises,

harassed, denied positions, received poor performance evaluation, denied bonuses

and given lesser bonus amounts, unjustly disciplined, and subjected to additional

adverse acts by Defendant because of her complaints and protected activity.

      115. Defendant has condoned and tolerated retaliation.

      116. The retaliation Plaintiff was forced to endure prevented other

employees from complaining and engaging in protected activity.

      117. Plaintiff avers that she has been unjustly harassed, denied pay, denied

pay raises, treated differently, denied bonuses, received less bonuses, and subjected

to additional adverse actions for engaging in a protected activity by complaining of

race discrimination to her superiors.

      118. Plaintiffs engaging in protected activity was the cause of the adverse

actions she suffered.


                                         15
       Case 3:19-cv-00719-WC Document 1 Filed 09/27/19 Page 16 of 18


       119. There is a causal connection between Plaintiffs protected activity and

the retaliation she suffered.

       120. Plaintiff has been retaliated against in violation of Title VII of the

"Civil Rights Act of 1964," as amended, the "Civil Rights Act of 1866," as

amended,42 U.S.C.§ 1981,and 42 U.S.0 § 1983.

      121. Defendant has a habit and/or practice of retaliating against employees

that engage in protected activity.

       122. Plaintiff has no plain, adequate or complete remedy at law to redress

the wrongs alleged herein and this suit for back pay, front pay, compensatory

damages, attorney's fees is her only means of securing adequate relief.

      V. PLAINTIFF'S PRAYER FOR RELIEF AS TO ALL COUNTS

      WHEREFORE,the Plaintiff requests that this Court adopt jurisdiction of

this action and award Plaintiff the following relief:

      a. Enter a declaratory judgment that Defendant's policies, practices and

          procedures complained of herein have violated and continue to violate

          the rights of the Plaintiff as secured by Title VII of the Civil Rights Act

          of 1964, as amended, the "Civil Rights Act of 1866," as amended, 42

          U.S.C.§ 1981,and 42 U.S.C. § 1983;

      b. Grant Plaintiff a permanent injunction enjoining Defendant, its Agent,

          Successors, Employees, Attorneys, and those acting in concert with

          Defendant or at Defendant's request from violating Title VII of the Civil


                                          16
       Case 3:19-cv-00719-WC Document 1 Filed 09/27/19 Page 17 of 18


         Rights Act of 1964, as amended, the "Civil Rights Act of 1866," as

         amended,42 U.S.C.§ 1981,and 42 U.S.C. § 1983;

      c. Grant Plaintiff an Order requiring the Defendant to make her whole by

         granting appropriate compensatory damages (including damages for

         mental anguish), interest, attorney's fees, expenses, costs; and,

      d. Plaintiff prays for such other, further, different or additional relief and

         benefits as justice may require.

      PLAINTIFF HEREBY REQUESTS T                            TRUCK JURY


                                                                  N WILKINSON
                                              tate Bar i No: ASB-9950-L68C
                                             Attorney for Plaintiff

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                                        17
       Case 3:19-cv-00719-WC Document 1 Filed 09/27/19 Page 18 of 18


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                                        18
